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Areya Holder Aurzada
State Bar No. 24002303
CHAPTER 7 TRUSTEE
901 Main Street, Suite 5320
Dallas, TX 75202
Telephone: (972) 438-8800
Email: areya@holderlawpc.com

                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

 IN RE:                                        §
                                               §
 REGINA NACHAEL HOWELL                         §                    CASE NO. 12-43804-RFN
 FOSTER                                        §
                                               §
       DEBTOR(S)                               §

                       TRUSTEE’S NOTICE OF UNCLAIMED FUNDS

       You are hereby notified that the Trustee has placed the claim below into the Court’s

registry as unclaimed funds.

Claim No. 12           Bassiony Rhima as Trustee for Scott Rhima          $150,000.00
                       PO Box 173727
                       Arlington, TX 76003


                                                   Respectfully submitted,

                                                   By: /s/ Areya Holder Aurzada
                                                        Areya Holder Aurzada
                                                        State Bar No. 24002303
                                                        CHAPTER 7 TRUSTEE
                                                        901 Main Street, Suite 5320
                                                        Dallas, TX 75202
                                                        Telephone: (972) 438-8800
                                                        Email: areya@holderlawpc.com




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                                CERTIFICATE OF SERVICE

       The undersigned certifies that a true and correct copy of the foregoing instrument has been
served via electronic notice and/or regular first-class mail to the parties listed below and all
parties that have entered a notice of appearance on this 12th day of September 2018.
Bassiony Rhima as Trustee for Scott Rhima
PO Box 173727
Arlington, TX 76003

Annette Loyd Vanicek
4528 W. Vickery Blvd., Suite 202
Fort Worth, TX 76107

Annette Loyd Vanicek
1112 E. 1st Street
Fort Worth, TX 76102

United States Trustee
1100 Commerce Street
Room 976
Dallas, TX 75242-1496


                                             By: /s/Areya Holder Aurzada
                                                Areya Holder Aurzada




                                                                                                 2
